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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION


 UNITED STATES OF AMERICA,                                                            Plaintiff,

 v.                                                       Criminal Action No. 3:21-cr-155-DJH

 JOSHUA WHITE,                                                                      Defendant.

                                           * * * * *

                                            ORDER

        Per the Court’s July 6, 2023 Order (Docket No. 96), Defendant Joshua White moves to

 withdraw his motion to compel and related memorandum. (D.N. 99 (referencing D.N. 71; D.N.

 75)) White also indicates that he has no objection to the government’s motion for a protective

 order. (D.N. 98 (referencing D.N. 92) Accordingly, it is hereby

        ORDERED as follows:

        (1)      White’s motion to withdraw (D.N. 99) is GRANTED. The motion to compel

 (D.N. 71) and memorandum (D.N. 75) are DEEMED WITHDRAWN.

        (2)      The United States’ motion for a protective order (D.N. 92) is GRANTED. The

 Clerk of Court is DIRECTED to file White’s memorandum and the attached exhibits under seal.

 (D.N. 75; D.N. 75-1; D.N. 75-2; D.N. 75-3; D.N. 75-4; D.N. 75-5; D.N. 75-6)

         July 18, 2023




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